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                    United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
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                              June 16, 2025


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      No. 25-50130      Lutheran Church v. Christian
                        USDC No. 1:23-CV-1042


Dear Counsel,
This case was expedited on June 5, 2025.            A copy of the Court’s
order was previously sent to counsel.
The Court advises that it is retaining the current deadline of
June 27, 2025 for filing of Appellees’ brief. Once the Appellees’
brief is filed, please submit paper copies via overnight mail.
Please note:
  •   Appellant’s reply brief is due on 07/18/2025
      (Once filed, please submit paper copies via overnight mail)

A copy of the court’s printed calendar indicating the exact date
and time of the hearing will be provided prior to the hearing date.
Please adhere to the expedited briefing schedule without
requesting extensions in order to ensure the availability of the
briefs to the court prior to oral argument.
Record Excerpts: 5th Cir. R. 30.1.7(c) provides that the electronic
PDF version of the record excerpts should contain pages
representing the "tabs" identified in the index of the document.
However, we remind attorneys that the actual paper copies of record
excerpts filed with the court must contain actual physical tabs
that extend beyond the edge of the document, to facilitate easy
identification and review of tabbed documents.
Brief Covers: THE CASE CAPTION(S) ON BRIEF COVERS MUST BE EXACTLY
THE SAME AS THE CASE CAPTION(S) ON THE ENCLOSED TITLE CAPTION
SHEET(S). YOU WILL HAVE TO CORRECT ANY MODIFICATIONS YOU MAKE TO
THE CAPTION(S) BEFORE WE SUBMIT YOUR BRIEF TO THE COURT.
Dismissal of Appeals: The clerk may dismiss appeals without notice
if you do not file a brief on time, or otherwise fail to comply
with the rules.
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Appearance Form: If you have not electronically filed a "Form for
Appearance of Counsel," you must do so within 14 days of this date.
You must name each party you represent, See Fed. R. App. P. and
5th Cir. R. 12. The form is available from the Fifth Circuit’s
website, www.ca5.uscourts.gov.
Electronic Record on Appeal (EROA): We permit you to download all
or part of the electronic record on appeal (EROA) after this is
approved by the U.S. District Court. You will receive a notice
when access to the EROA is available. Counsel must be approved for
electronic filing and be listed as an attorney of record in the
case before access will be granted. Instructions for accessing
and downloading the EROA will be included in the notice you receive
from the district court, but are also available here:
http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm.
Please note that sealed documents, except for the presentence
investigation report in criminal appeals, will not be included in
the EROA. You must file a motion in our court for access to sealed
documents, which will be provided by the district court only upon
the filing and granting of a motion by our court.
Citation Guidelines: Pursuant to 5th Cir. R. 28.2.2, use the
following citation format:
  •   For single record cases, use "ROA." followed by the page
      number (e.g., "ROA.123").
  •   For multiple record cases, cite "ROA." followed by the Fifth
      Circuit appellate case number, followed by the page of the
      record (e.g., "ROA.13-12345.123").
  •   Each citation must end with a period (.) or semicolon (;).
Brief Template: The clerk’s office provides brief templates and
a tool to check briefs for potential deficiencies before docketing.
To access these resources, log in to CM/ECF and select ‘Brief
Template’ (Counsel Only) or ‘PDF Check Document’ from the Utilities
menu or the "Attorney Toolbox".
Reminder Regarding Sealed Documents: Our court presumes the public
has a right to court records, and request to seal pleadings, record
excerpts, or other documents must be justified with particularity.
Simply stating that the originating court sealed the matter is
insufficient. Counsel is responsible for justifying a request to
file under seal, as well as for notifying the court when sealing
is no longer necessary. An unopposed motion to seal does not
relieve counsel of the obligation to justify the motion.




                             Sincerely,
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                             LYLE W. CAYCE, Clerk



                             By: _________________________
                             Mary Frances Yeager, Deputy Clerk
                             504-310-7686
Enclosure(s)




                              ___________

                           Case No. 25-50130
                              ___________

The Lutheran Church - Missouri Synod, a Missouri nonprofit
corporation,
                       Plaintiff - Appellant
v.
Donald Christian; Christopher Bannwolf; John Does 1-12;
Concordia University Texas, Incorporated
                       Defendants - Appellees
